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DEC 17 2014

UNITED STATES BANKRUPTCY COURT
FOR THE SOUTHERN DISTRICT OF FLOR]])A

MIAMI DIVISION
In re Case No. 13-15911
RAUL MESA Chapter 13

NOTICE OF SATISFACTION OF
PROOF OF CLA[M # 12

 

TO: DEBTOR(S), ATI`ORNEY FOR DEBTOR(S), CHAPTER 13 TRUSTEE, and
all interested parties:
NOTICE IS HEREBY GIVEN that the Proof of Claim filed by JP Morgan Chase Bank,
N.A. on 07/03/2013, and assigned as Claim number 12 has been satisfied as of the date of
this Notice. Accordingly, any future disbursements on Claim number 12 should cease at

this time.

Dated: December ZQ , 2014

Respectfully submitted,
Buckley Madole, P.C.

/S/ John J Raffeny M([M_
John J Raffeny '

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Authorized agent for JP Morgan Chase Bank, N.A.

 

 

 

 

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CERTIFICATE OF SERVICE OF NOTICE OF SATISFACTION OF CLAIM

I hereby certify that a true and correct co y of the foregoing document has been served upon the
following parties in interest on or before the day of December, 2014 via electronic notice unless
otherwise stated:

Debtor Via U.S. Mail
RAUL MESA

15399 SW 20 ST
MIAMI, FL 33185

Debtors' Attomey
RICARDO CORONA, ESQ.
3899 NW 7TH ST STE 202B,,
MIAMI, FL 33 126

Chapter 13 Trustee
NANCY K. NEIDICH
PO BOX 279806
MIRAMAR, FL 33027

/s/ John J Raffert
John J Rafferty

